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    1                                   PROOF OF SERVICE
    2       At the time of service, I was over 18 years of age and not a party to this action.
      I am employed in the County of Los Angeles, State of California. My business
    3 address is 1900 Avenue of the Stars, 11th Floor, Los Angeles, CA 90067-4402.

    4       On February 15, 2019, I served true copies of the following document(s)
      described as THIRD APPLICATION OF CROWE HORWATH LLP FOR
    5 APPROVAL OF FEES AND EXPENSES INCURRED AS ACCOUNTANTS
      TO DAVID A. GILL, RECEIVER; AND DECLARATION OF SUSAN P.
    6 TOMLINSON IN SUPPORT THEREOF on the interested parties in this action as
      follows:
    7
                BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
    8 the document(s) with the Clerk of the Court by using the CM/ECF system.
        Participants in the case who are registered CM/ECF users will be served by the
    9 CM/ECF system. Participants in the case who are not registered CM/ECF users will
        be served by mail or by other means permitted by the court rules.
   10
                I declare under penalty of perjury under the laws of the State of California that
   11 the foregoing is true and correct.

   12           Executed on February 15, 2019, at Los Angeles, California.
   13

   14                                               /s/ Patricia Morris
                                                    PATRICIA MORRIS
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